                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    WESTERN DIVISION

                                                       )
 IN RE:                                                )
                                                       )         Case No. 19-70152
 SOUTHFRESH AQUACULTURE, LLC,                          )
                                                       )         Chapter 11
          Debtor.                                      )

     DEBTOR’S MOTION FOR ENTRY OF ORDER (I) AUTHORIZING THE PAYMENT
       OF CRITICAL VENDOR CLAIMS, AND (II) GRANTING RELATED RELIEF

          SouthFresh Aquaculture, LLC, as debtor and debtor in possession in the above-captioned

 chapter 11 cases (the “Debtor”),1 respectfully state the following in support of this motion (the

 “Motion”):

                                                 Relief Requested

          1.       The Debtor seeks entry of an order, substantially in the form attached hereto as

 Exhibit A (the “Order”) (i) authorizing, but not directing, the Debtor to pay in the ordinary course

 of business all undisputed, liquidated, pre-petition amounts owing on account of critical vendor

 claims, and (ii) granting related relief.

                                             Jurisdiction and Venue

          2.       The United States Bankruptcy Court for the Northern District of Alabama (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the General

 Order of Reference from the United States District Court for the Northern District of Alabama,

 dated January 12, 1995. The Debtor confirms its consent, pursuant to Rule 7008 of the Federal



 1
   A detailed description of the Debtor and its business, and the facts and circumstances supporting this Motion and
 the Debtor’s chapter 11 case, is set forth in greater detail in the Declaration of Justin Funk, Chief Executive Officer
 of SouthFresh Aquaculture, LLC, in Support of Chapter 11 Petition and First Day Motions (the “First Day
 Declaration”), filed contemporaneously with the Debtor’s voluntary petition for relief filed under chapter 11 of title
 11 of the United States Code (the “Bankruptcy Code”), on January 28, 2019 (the “Commencement Date”).
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day Declaration.

 04705723.6



Case 19-70152-JHH11             Doc 10      Filed 01/28/19 Entered 01/28/19 16:21:38                        Desc Main
                                          Document      Page 1 of 21
 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Court

 in connection with this Motion to the extent that it is later determined that the Court, absent consent

 of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

 III of the United States Constitution.

          3.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          4.     The bases for the relief requested herein are sections 105(a), 362, 363, and 503(b) of

 the Bankruptcy Code and Bankruptcy Rule 6003.

                                          Procedural Background

          5.     On the Commencement Date, the Debtor filed a voluntary petition for relief under

 chapter 11 of the Bankruptcy Code. The Debtor is operating its business and managing its properties

 as Debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

 for the appointment of a trustee or examiner has been made in this chapter 11 case, and no

 committee has been appointed or designated.

                                             Critical Vendors

          6.     At a high level, the Debtor’s ordinary course operations can be separated into three

 general divisions: (1) catfish processing; (2) feed manufacturing; and (3) seafood reselling. For the

 catfish processing operation, Debtor purchases catfish from farmers, processes the catfish at the

 Processing Plant, and sells the processed catfish to customers.         For the feed manufacturing

 operation, Debtor purchases feed ingredients, manufactures the feed, and sells the manufactured

 feed to customers. For the seafood reselling operation, Debtor purchases seafood from a variety of

 sources, which it then resells to customers. For each of these operations, Debtor relies heavily on

 farmers, specialized vendors, ingredients suppliers, repairmen, transportation and shipping

 providers, and storage/ice providers (collectively, the “Critical Vendors”), each of which provide



 04705723.6                                     2


Case 19-70152-JHH11          Doc 10     Filed 01/28/19 Entered 01/28/19 16:21:38             Desc Main
                                      Document      Page 2 of 21
 the Debtor with the materials, supplies, and/or services necessary for the Debtor to operate its three

 divisions on a daily basis.

          7.     In many cases, given the relatively small industry size, there are a limited number of

 Critical Vendors that can service the Debtor’s operational needs. In addition to the processing and

 manufacturing processes, the Debtor is usually responsible for arranging the shipping of ingredients

 and products through the supply chain. The materials, supplies, and services provided by the

 Debtor’s Critical Vendors are essential to the day-to-day operations of the Debtor’s business. Any

 disruption to the Debtor’s supply network would have an immediate negative impact on the

 Debtor’s business. For example, fast and efficient transportation is necessary for the Debtors’

 successful operations, not only to avoid a backup of excess inventory, but also to ensure the

 preservation of ingredients and product and maximization of revenue shipments.

          8.     The Debtor obtains materials, supplies, and services from the Critical Vendors, often

 on an order-by-order basis and without long-term contracts—replacement of which likely would be

 impossible or would result in substantially higher costs for the Debtor. The Debtor relies on timely

 and frequent delivery of these goods, equipment, supplies, and services, and any interruption in this

 supply—however brief—would disrupt the Debtor’s operations and impact its revenue, likely

 causing irreparable harm to its business, reputation, goodwill, employees, customer base, and

 market share. Such harm would far outweigh the cost of payment of the Critical Vendors Claims.

          9.     The Debtor believes some of their vendors may be unfamiliar with the chapter 11

 process and unwilling to do business on existing terms—assuming such parties will continue to

 supply the Debtor at all. Any loss of trade terms, whether on account of demands for cash in

 advance, cash on delivery, or otherwise, will negatively impact the Debtor’s liquidity and jeopardize

 its ability to maintain and service its equipment and to purchase any additional equipment required



 04705723.6                                     3


Case 19-70152-JHH11            Doc 10     Filed 01/28/19 Entered 01/28/19 16:21:38          Desc Main
                                        Document      Page 3 of 21
 to service their clients. In addition, certain of the Critical Vendors may be able to assert mechanics’

 liens under applicable state law.

          10.   After a thorough review of its operations and potential alternatives, the Debtor

 determined, in the exercise of its business judgment, that payment of certain pre-petition Critical

 Vendor claims (the “Critical Vendor Claims”) is essential to avoid costly disruptions to its

 operations.

          11.   The Critical Vendors generally fall into the following categories:

                       Farmers. The Debtor purchases catfish from a limited group of farmers for
                        its catfish processing operation. The Debtor’s catfish processing operation
                        cannot continue without the catfish provided by its farmers. Similarly, the
                        farmers have few other options and count on prompt weekly payment from
                        the Debtor. Thus, maintaining positive, ongoing relationships with these
                        farmers is necessary for the Debtor to maintain the functionality of its
                        business operations and reputation.

                       Ingredient Suppliers. Debtor purchases feed ingredients from a core group of
                        ingredient suppliers for its feed manufacturing operation. Similar to the
                        significant role farmers play in the catfish processing operation, feed
                        ingredient suppliers are necessary for the Debtor’s feed manufacturing
                        operation. These ongoing relationships are necessary for the Debtor’s ability
                        to maintain the functionality of its business operations.

                       Seafood Suppliers. Debtor purchases seafood from a variety of sources,
                        including importers and fishermen for its seafood reselling operation.
                        Without a steady stream of seafood products, Debtor will not be able to keep
                        its business operations functional.

                       Shippers and Packagers. Debtor utilizes shipping and packaging vendors in
                        all three of its major business operations. For the catfish processing
                        operation, Debtor may have to pay to ship the catfish from the farmer to its
                        cold storage facilities and/or Processing Plant. After the catfish is processed,
                        the Debtor has to package and ship the processed fish to its cold storage
                        facilities and/or customers across the country. For the feed manufacturing
                        operation, Debtor must ship the feed ingredients from the ingredient
                        suppliers to the Feed Mill and, after the manufacturing process, package and
                        ship the feed to its customers across the country. For the seafood reselling
                        operation, Debtor must ship the seafood from the suppliers to its cold storage
                        facilities and then package and ship the seafood to other cold storage
                        facilities and/or customers across the country. It is vital for Debtor’s

 04705723.6                                    4


Case 19-70152-JHH11         Doc 10     Filed 01/28/19 Entered 01/28/19 16:21:38              Desc Main
                                     Document      Page 4 of 21
                  operations for it to ship and package goods and materials throughout the
                  supply chain. In many cases, the shippers and packaging supplies vendors
                  are irreplaceable and represent the only means to transport and package the
                  Debtor’s goods. Without the vendors who provide these services, Debtor’s
                  business operations would not be functional.

                 Cold Storage and Ice Providers. The Debtor uses cold storage and ice
                  providers to preserve the catfish and other seafood throughout the supply
                  chain. Without ice, the catfish would perish during the shipping process.
                  Likewise, the catfish and other seafood must be stored in the proper facilities
                  before ultimately reaching the Debtor’s customers across the county. For
                  these reasons, cold storage and ice providers are vital to the Debtor’s
                  business operations. Without these vendors, the Debtor would be unable to
                  continue operating.

                 Repair, Maintenance, and Sanitation Service Providers. Although the Debtor
                  performs its own routine maintenance and repair work on the Processing
                  Plant and the Feed Mill, the Debtor also relies heavily on other essential
                  vendors for more extensive, complex repair, maintenance, and sanitation
                  services that the Debtor is unable to perform in a cost-efficient manner or
                  does not have the technical expertise to administer. These providers are
                  critical to the safety and sanitation of the Debtor’s personnel and its catfish,
                  seafood, and feed products. From time to time, these also supply the Debtor
                  with a limited quantity of replacement parts largely related to their repair
                  services. Further, it is necessary for the Debtor’s processing and
                  manufacturing to meeting regulatory standards for sanitation. As a result, the
                  Debtor continually requires specialized chemicals from specific providers to
                  sanitize its equipment and premises to ensure its compliance with health and
                  safety regulations. Without these providers, the Debtor will not be able to
                  keep some of their most highly sought-after equipment sanitary and in good
                  working order.

                 Rebate Program Counterparty. One of Debtor’s most significant customers is
                  Sysco Corporation, which is one of the largest sellers, marketers, and
                  distributors of food products to restaurants, healthcare and educational
                  facilities, and lodging establishments around the world. Sysco purchases
                  catfish and other seafood products from Debtor. As part of this transaction,
                  Sysco regularly provides certain services, including marketing and
                  advertising, to Debtor and is able to charge back certain costs to Debtor in
                  the form of a rebate. Sysco accounts for approximately 40% of Debtor’s
                  manufactured catfish sales and approximately 80% of Debtor’s other seafood
                  sales. Not only is Sysco a vital customer of Debtor’s goods, the marketing
                  and advertising services it provides to Debtor are instrumental to Debtor’s
                  ongoing business operations. Without the ability to charge back certain costs
                  to Debtor as part of its business relationship, Sysco would likely choose to
                  purchase its manufactured catfish and other seafood from another company.

 04705723.6                              5


Case 19-70152-JHH11   Doc 10     Filed 01/28/19 Entered 01/28/19 16:21:38              Desc Main
                               Document      Page 5 of 21
                           Debtor consequently would lose Sysco’s business and the marketing and
                           advertising services it provides. Accordingly, this rebate program is vital to
                           Debtor’s continuing operations.

          12.     By this Motion, the Debtor seeks authority to pay, in its sole discretion based on its

 reasonable business judgment, up to approximately $1,090,0002 on account of certain pre-petition

 Critical Vendor Claims.

          13.     Subject to the Court’s approval, the Debtor intends to pay the Critical Vendor

 Claims only to the extent necessary to preserve its business. In return for paying the Critical Vendor

 Claims, the Debtor will use commercially reasonable efforts to condition payment of the claims

 upon each claimant’s agreement to continue supplying goods and/or services on terms that were in

 place in the 120 days prior to the Commencement Date or are otherwise acceptable to the Debtor in

 light of customary industry practices (the “Customary Trade Terms”).

          14.     In addition, the Debtor requests that if any party accepts payment pursuant to the

 relief requested by this Motion and thereafter does not continue to provide goods or services on

 Customary Trade Terms, then: (a) such payment may be deemed to be an improper post-petition

 transfer on account of a pre-petition claim, and, therefore, immediately recoverable by the Debtor in

 cash upon written request; (b) upon recovery by the Debtor, any pre-petition claim of such party

 shall be reinstated as if the payment had not been made; and (c) if there exists an outstanding post-

 petition balance due from the Debtor to such party, the Debtor may elect to re-characterize and

 apply any payment made pursuant to the relief requested by this Motion to such outstanding post-

 petition balance and such supplier or vendor will be required to repay to the Debtor such paid




 2
   In the event the Court enters an Order granting the relief requested by the Debtor in its Motion for Entry of Order
 (I) Authorizing the Debtor to (A) Continue to Operate Its Cash Management System, (B) Honor Certain Pre-Petition
 Obligations Related Thereto, (C) Maintain Existing Business Forms, and (II) Granting Related Relief, a significant
 percentage of this amount will be eliminated since a majority thereof is set to be paid pursuant to checks issued by
 the Debtor in the ordinary course of business on Thursday, January 24, 2019.

 04705723.6                                           6


Case 19-70152-JHH11             Doc 10      Filed 01/28/19 Entered 01/28/19 16:21:38                      Desc Main
                                          Document      Page 6 of 21
 amounts that exceed the post-petition obligations then outstanding without the right of any setoffs,

 claims, provisions for payment of any claims, or otherwise.

                                     Basis for Relief Requested

 I.       The Debtor Should Be Authorized to Pay the Critical Vendor Claims.

          A.    Payment of the Critical Vendor Claims Is Necessary to Protect and Preserve
                the Estate.

          15.   The relief requested herein with respect to payment of the Critical Vendor Claims

 may be granted by the Court under the Court’s general equitable powers as codified in section

 105(a) of the Bankruptcy Code. This section empowers the Court to “issue any order, process, or

 judgment that is necessary to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. §

 105(a). A bankruptcy court’s use of its equitable powers to “authorize the payment of prepetition

 debt when such payment is needed to facilitate the rehabilitation of the debtor is not a novel

 concept.” In re Ionoshpere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (citing

 Miltenberger v. Logansport, C. & S.W.R. Co., 106 U.S. 286 (1882)). Under section 105(a), a court

 “can permit pre-plan payment of a prepetition obligation when essential to the continued operation

 of the debtor.” In re NVR L.P., 147 B.R. 126, 127 (Bankr. E.D. Va. 1992); see also In re Just for

 Feet, Inc., 242 B.R. 821, 826 (D. Del. 1999) (“To invoke the necessity of payment doctrine, a

 debtor must show that payment of the prepetition claims is critical to the debtor’s reorganization.”)

 (internal quotation omitted).

          16.   Courts regularly have recognized that it is appropriate to authorize the payment of

 pre-petition obligations where necessary to protect and preserve the estate, including an operating

 business’s going-concern value. See, e.g., In re CoServe, L.L.C., 273 B.R. 487, 497 (Bankr. N.D.

 Tex. 2002) (authorizing the payment of certain prepetition claims pursuant to the “doctrine of

 necessity”); In re Equalnet Commc’ns Corp., 258 B.R. 368, 369–70 (Bankr. S.D. Tex. 2000)

 04705723.6                                   7


Case 19-70152-JHH11         Doc 10     Filed 01/28/19 Entered 01/28/19 16:21:38            Desc Main
                                     Document      Page 7 of 21
 (business transactions critical to the survival of the business of the debtor is exceptions to the

 general rule of nonpayment of prepetition claims prior to plan confirmation).

          17.      Courts in this district and others have routinely authorized payments of pre-petition

 obligations in similar circumstances. See, e.g., In re Walter Energy, Inc., Case No. 15-02741 (TOM)

 (Bankr. N.D. Ala. Sept. 4, 2015) (authorizing debtors to pay certain pre-petition obligations

 pursuant to authority granted under section 105); see also In re Westmoreland Coal Company, Case

 No. 18-35672 (MI) (Bankr. S.D. Tex. Oct. 9, 2018) (same); In re Armstrong Energy, Inc., Case No.

 17-47541-659 (KSS) (Bankr. E.D. Mo. Dec. 1, 2017) (same); In re Peabody Energy Corp., Case

 No. 16-42529-399 (BSS) (Bankr. E.D. Mo. Apr. 15, 2016 (same).3

          B.       Payment of the Critical Vendors Claims as Provided Herein Is Warranted
                   Under Section 363(b)(1) of the Bankruptcy Code and the Doctrine of Necessity.

          18.      Courts frequently authorize the payment of pre-petition obligations under section

 363(b)(1) of the Bankruptcy Code, which provides that “[t]he trustee, after notice and a hearing,

 may use, sell, or lease, other than in the ordinary course of business, property of the estate.” 11

 U.S.C. § 363(b)(1). Under this section, a court may authorize a debtor to pay certain pre-petition

 claims if the debtor is able to “show that a sound business purpose justifies such actions.” See In re

 Allied Holdings, Inc., 337 B.R. 716, 721 (Bankr. N.D. Ga. 2005); In re Georgetown Steel Co., LLC,

 306 B.R. 549, 555 (Bankr. D.S.C. 2004); see also In re Montgomery Ward Holding Corp., 242 B.R.

 147, 153 (Bankr. D. Del. 1999) (citations omitted); In re Phx. Steel Corp., 82 B.R. 334, 335–36

 (Bankr. D. Del. 1987). Moreover, “[w]here the debtor articulates a reasonable basis for its business

 decisions (as distinct from a decision made arbitrarily or capriciously), courts will generally not

 entertain objections to the debtor’s conduct.” In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr.

 S.D.N.Y. 1986) (citation omitted); see also In re Tower Air, Inc., 416 F.3d 229, 238 (3d Cir. 2005)

 3
   Based on the voluminous nature of the orders cited herein, such orders have not been attached to this Motion. Copies of
 these orders are available upon request to the Debtor’s proposed counsel.

 04705723.6                                             8


Case 19-70152-JHH11              Doc 10      Filed 01/28/19 Entered 01/28/19 16:21:38                         Desc Main
                                           Document      Page 8 of 21
 (stating that “[o]vercoming the presumptions of the business judgment rule on the merits is a near-

 Herculean task”).

          19.    Further, as discussed above, the Court may authorize payment of pre-petition claims

 in appropriate circumstances based on section 105(a) of the Bankruptcy Code. Under section

 105(a), courts may permit pre-plan payments of pre-petition obligations when essential to the

 continued operation of a debtor’s business. Specifically, the Court may use its power under section

 105(a) to authorize payment of pre-petition obligations pursuant to the “necessity of payment” rule

 (also referred to as the “doctrine of necessity”).

          20.    Federal courts have consistently used the “doctrine of necessity” or the “necessity of

 payment” rule to permit post-petition payment of pre-petition obligations where necessary to

 preserve the value of a debtor’s estate. See In re Lehigh & New England Ry. Co., 657 F.2d 570, 581

 (3d Cir. 1981). Today, the rationale for the necessity of payment rule—the rehabilitation of a debtor

 in reorganization cases—is “the paramount policy and goal of Chapter 11.” Id.; see also In re Just

 For Feet, 242 B.R. 821, 824–25 (D. Del. 1999) (finding that payment of pre-petition claims to

 certain trade vendors was “essential to the survival of the debtor during the chapter 11

 reorganization”); In re Quality Interiors, Inc., 127 B.R. 391, 396 (Bankr. N.D. Ohio 1991)

 (“[P]ayment by a debtor-in-possession of pre-petition claims outside of a confirmed plan of

 reorganization is generally prohibited by the Bankruptcy Code,” but “[a] general practice has

 developed . . . where bankruptcy courts permit the payment of certain pre-petition claims, pursuant

 to 11 U.S.C. § 105, where the debtor will be unable to reorganize without such payment.”); 2

 COLLIER ON BANKRUPTCY, 105.02[4][a] (16th ed. rev. 2015) (discussing cases in which courts have

 relied on the “doctrine of necessity” or the “necessity of payment” rule to pay pr-epetition claims

 immediately).



 04705723.6                                      9


Case 19-70152-JHH11          Doc 10     Filed 01/28/19 Entered 01/28/19 16:21:38            Desc Main
                                      Document      Page 9 of 21
          21.   Granting the Debtor the narrowly tailored relief sought herein is consistent with the

 “two recognized policies” of chapter 11 of the Bankruptcy Code—preserving going concern value

 and maximizing the value of property available to satisfy creditors. See Bank of Am. Nat’l Trust &

 Savs. Ass’n v. 203 N. LaSalle St. P’Ship, 526 U.S. 434, 453 (1999). As described above, the Debtor

 requires a steady stream of supplies and related services to ensure it has inventory to meet customer

 demand, as well as other goods and services critical to the value of the Debtor’s business. As the

 Critical Vendors do not have long-term contractual obligations to the Debtor, the Debtor must

 maintain the ability to continue to pay the Critical Vendors on an ongoing basis to ensure

 uninterrupted goods and services. Without the supplies and services described in this Motion, the

 Debtor would experience a significant disruption of its supply chain while it searches, likely in vain,

 for substitute vendors, suppliers, and shippers, which would in turn jeopardize customer goodwill

 and significantly impair the value of the Debtor’s business. Ensuring these Critical Vendors

 continue to supply and serve is therefore vital to the success of these chapter 11 cases and the ability

 of the Debtor to remain a going-concern.

          22.   Courts in this jurisdiction and others have authorized payment of pre-petition claims

 for critical vendors under sections 363(b) and 105(a) of the Bankruptcy Code. See, e.g., In re Walter

 Energy, Inc., Case No. 15-02741 (TOM) (Bankr. N.D. Ala. Sept. 4, 2015) (authorizing up to $8.2

 million in payments to critical vendors); see also In re EXCO Res., Inc., Case No. 18-30155 (MI)

 (Bankr. S.D. Tex. Jan. 10, 2018) (authorizing up to $28.8 million in payments to critical vendors);

 In re Avaya Inc., Case No. 17-10089 (SMB) (Bankr. S.D.N.Y. Feb. 10, 2017) (authorizing up to

 $39.5 million in payments to critical vendors); In re Armstrong Energy, Inc., Case No. 17-47541-

 659 (KSS) (Bankr. E.D. Mo. Dec. 1, 2017) (authorizing up to $6.45 million in payments to shippers,

 lien claimants, and 503(b)(9) claimants); In re Peabody Energy Corp., Case No. 16-42529-399



 04705723.6                                    10


Case 19-70152-JHH11         Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                   Desc Main
                                  Document    Page 10 of 21
 (BSS) (Bankr. E.D. Mo. Apr. 15, 2016) (authorizing up to $6.5 million in payments to lien

 claimants).

          23.      Moreover, the failure to make timely payment of certain Critical Vendor Claims

 would threaten the Debtor’s ability to operate and may subject the Debtor’s assets to the perfection

 of liens. Under certain state laws, to the extent the Debtor has not paid for shipping, storage, or

 repair services, these vendors may have a lien on the goods in its possession, which secures the

 charges or expenses incurred in connection with repair of the equipment or the transportation or

 storage of the goods.4 In addition, pursuant to section 363(e) of the Bankruptcy Code, some of these

 Critical Vendors, as bailees, may be entitled to adequate protection for any valid possessory lien. In

 light of these circumstances, certain Critical Vendors may assert that they have possessory liens on

 goods currently in their possession for transportation, storage, or repair costs and may refuse to

 deliver or release those goods or equipment in their possession until their invoices are paid and their

 liens redeemed. Some claimants may be unwilling to release the goods in their possession on which

 they may be entitled to assert liens for fear of releasing security for their pre-petition claims.

 Moreover, shippers simply refusing to deliver the Debtor’s goods if they are not paid could severely

 disrupt the Debtor’s operations and cause the Debtor to lose a substantial amount of revenue and

 future business. Accordingly, because the Debtor is dependent on these claimants, it is essential that

 the commencement of these cases not give any Critical Vendors reason or excuse to cease

 performing their obligations.

          24.      Courts in this district and other jurisdictions have authorized payments to such

 vendors under similar circumstances. See, e.g., In re Walter Energy, Inc., Case No. 15-02741

 4
   For example, section 7-307 of the Uniform Commercial Code provides, in pertinent part, that a “carrier has a lien on
 goods covered by a bill of lading or on the proceeds thereof in its possession for charges after the date of the carrier’s
 receipt of the goods for storage or transportation, including demurrage and terminal charges, and for expenses necessary
 for preservation of the goods incident to their transportation or reasonably incurred in their sale pursuant to state law.”
 U.C.C. § 7-307(a) (2003).

 04705723.6                                             11


Case 19-70152-JHH11               Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                              Desc Main
                                        Document    Page 11 of 21
 (TOM) (Bankr. N.D. Ala. Sept. 4, 2015) (authorizing debtors to pay shippers, storage providers, and

 other lien claimants up to $12.5 million); see also In re Westmoreland Coal Company, Case No. 18-

 35672 (MI) (Bankr. S.D. Tex. Oct. 9, 2018) (authorizing debtors to pay pre-petition expenses of

 shipping claims and lien claims, among others); In re Armstrong Energy, Inc., Case No. 17-47541-

 659 (KSS) (Bankr. E.D. Mo. Dec. 1, 2017) (authorizing debtors to pay shippers and lien claimants

 up to $2.2 million); In re Peabody Energy Corp., Case No. 16-42529-399 (BSS) (Bankr. E.D. Mo.

 Apr. 15, 2016 (authorizing debtors to pay lien claimants up to $6.5 million).5

            25.       Contemporaneous with this Motion, the Debtor has filed the Debtor’s Emergency

 Motion to Set Expedited Hearing on First Day Motions requesting the Court to schedule expedited

 hearings on several First Day Motions, including this Motion. Expedited relief is necessary with

 respect to this Motion because it is urgent to pay several of the Critical Vendor Claims on or shortly

 after the Commencement Date. For example, Debtor must pay farmers on Thursday, January 31,

 2019 to ensure it has a sufficient amount of catfish for its processing operation.

               Processing of Checks and Electronic Fund Transfers Should Be Authorized

            26.       The Debtor believes it has sufficient funds to pay the amounts described in this

 Motion in the ordinary course of business by virtue of expected cash flows from ongoing business

 operations and proposed debtor-in-possession financing. In addition, under the Debtor’s existing

 cash management system, the Debtor can readily identify checks or wire transfer requests as relating

 to an authorized payment in respect of the Critical Vendor Claims. Therefore, the Debtor

 respectfully requests that the Court authorize and direct all applicable financial institutions, when

 requested by the Debtor, to receive, process, honor, and pay any and all checks or wire transfer

 requests in respect of the relief requested in this Motion.



 5
     Copies of these orders are available upon request to the Debtors’ proposed counsel.

 04705723.6                                              12


Case 19-70152-JHH11                Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38          Desc Main
                                         Document    Page 12 of 21
                         The Requirements of Bankruptcy Rule 6003 Are Satisfied

          27.    Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

 the Commencement Date “to the extent that relief is necessary to avoid immediate and irreparable

 harm.” For the reasons discussed above, authorizing the Debtor to pay the Obligations, and granting

 the other relief requested herein is integral to the Debtor’s ability to transition their operations into

 this chapter 11 case. Failure to receive such authorization and other relief during the first 21 days of

 this chapter 11 case would severely disrupt the Debtor’s operations at this critical juncture. For the

 reasons discussed herein, the relief requested is necessary in order for the Debtor to operate its

 business in the ordinary course and preserve the ongoing value of the Debtor’s operations and

 maximize the value of their estates for the benefit of all stakeholders. Accordingly, the Debtor

 submits that it has satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule

 6003 to support granting the relief requested herein.

                                         Reservation of Rights

          28.    Nothing contained in this Motion or any actions taken by the Debtor pursuant to

 relief granted in the Order is intended or should be construed as: (a) an admission as to the validity

 of any particular claim against the Debtor; (b) a waiver of the Debtor’s rights to dispute any

 particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

 implication or admission that any particular claim is of a type specified or defined in this Motion;

 (e) a request or authorization to assume or reject any agreement, contract, or lease pursuant to

 section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtor’s rights under the

 Bankruptcy Code or any other applicable law; or (g) a concession by the Debtor that any liens

 (contractual, common law, statutory, or otherwise) satisfied pursuant to this Motion are valid, and

 the Debtor expressly reserves its rights to contest the extent, validity, or perfection or seek



 04705723.6                                     13


Case 19-70152-JHH11          Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                   Desc Main
                                   Document    Page 13 of 21
 avoidance of all such liens. If the Court grants the relief sought herein, any payment made pursuant

 to the Court’s order is not intended and should not be construed as an admission as to the validity of

 any particular claim or a waiver of the Debtor’s rights to subsequently dispute such claim.

                         Waiver of Bankruptcy Rule 6004(a) and 6004(h)

          29.   To implement the foregoing successfully, the Debtor requests that the Court enter an

 order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and that

 the Debtor has established cause to exclude such relief from the 14-day stay period under

 Bankruptcy Rule 6004(h).

                                                Notice

          30.   The Debtor will provide notice of this Motion to: (a) the Office of the Bankruptcy

 Administrator for the Northern District of Alabama; (b) the holders of the 20 largest unsecured

 claims against the Debtor; (c) counsel to the proposed DIP Lender; (d) the International

 Chemical Workers Union Council of the United Food and Commercial Workers Union and Its

 Local 1038C; (e) the United States Attorney’s Office for the Northern District of Alabama; (f)

 the Internal Revenue Service; (g) the United States Environmental Protection Agency; (h) the

 Alabama Department of Environmental Management; (i) the United States Department of

 Agriculture; (j) the United States Food and Drug Administration; (k) the Alabama Department of

 Agriculture & Industries – Weights and Measures Division; (l) the office of the Attorney General

 for the State of Alabama; and (m) any party that has requested notice pursuant to Bankruptcy

 Rule 2002. The Debtor submits that, in light of the nature of the relief requested, no other or

 further notice need be given.




 04705723.6                                   14


Case 19-70152-JHH11         Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                    Desc Main
                                  Document    Page 14 of 21
                                        No Prior Request

          31.   No prior request for the relief sought in this Motion has been made to this or any

 other court.

                                 [Remainder of page intentionally blank]




 04705723.6                                 15


Case 19-70152-JHH11        Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38              Desc Main
                                 Document    Page 15 of 21
          WHEREFORE, the Debtor respectfully requests that the Court enter the Order, granting the

 relief requested herein and such other relief as the Court deems appropriate under the circumstances.

          Respectfully submitted this the 28th day of January, 2019.



                                                               /s/ J. Leland Murphree
                                                               J. Leland Murphree
                                                               Jayna P. Lamar
                                                               Ryan D. Thompson
                                                               Evan N. Parrott
                                                               Wes Bulgarella

                                                               Proposed Counsel to the Debtor


 OF COUNSEL:

 MAYNARD, COOPER & GALE, P.C.
 1901 Sixth Avenue North,
 2400 Regions/Harbert Plaza
 Birmingham, AL 35203
 (205) 254-1000
 lmurphree@maynardcooper.com
 jlamar@maynardcooper.com
 rthompson@maynardcooper.com
 eparrott@maynardcooper.com
 wbulgarella@maynardcooper.com




 04705723.6                                   16


Case 19-70152-JHH11         Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                Desc Main
                                  Document    Page 16 of 21
                                   Exhibit A

                                 Proposed Order




 04705723.6                         17


Case 19-70152-JHH11   Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38   Desc Main
                            Document    Page 17 of 21
                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      WESTERN DIVISION

                                                        )
 IN RE:                                                 )
                                                        )        Case No. 19-70152
 SOUTHFRESH AQUACULTURE, LLC,                           )
                                                        )        Chapter 11
            Debtor.                                     )

                       ORDER (I) AUTHORIZING THE PAYMENT OF
              CRITICAL VENDOR CLAIMS, AND (II) GRANTING RELATED RELIEF

            Upon the motion (the “Motion”),6 of the above-captioned debtor and debtor in possession

 (the “Debtor”), for entry of an order (this “Order”), (i) authorizing, but not directing, the payment of

 critical vendor claims, and (ii) granting related relief, all as more fully set forth in the Motion; and

 upon the First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28

 U.S.C. §§ 157 and 1334 and the General Order of Reference from the United States District Court

 for the Northern District of Alabama, dated January 12, 1995; and this Court having found that this

 is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this Court may enter a final order

 consistent with Article III of the United States Constitution; and this Court having found that venue

 of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

 and this Court having found that the Debtor’s notice of the Motion and opportunity for a hearing on

 the Motion were appropriate under the circumstances and no other notice need be provided; and this

 Court having reviewed the Motion and having heard the statements in support of the relief requested

 therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

 legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

 granted herein; and upon all of the proceedings had before this Court; and after due deliberation and

 sufficient cause appearing therefor, it is HEREBY ORDERED THAT:
 6
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

 04705723.6                                            18


Case 19-70152-JHH11               Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                          Desc Main
                                        Document    Page 18 of 21
          1.    The Motion is GRANTED as set forth herein.

          2.    The Debtor is authorized, but not directed, in the reasonable exercise of their

 business judgment, to pay all or part of, and discharge, on a case-by-case basis, the Critical Vendor

 Claims in an amount not to exceed $1,090,000 in the aggregate.

          3.    In return for payment of the Critical Vendor Claims, the Debtor, in its discretion,

 will obtain agreements from any party receiving payment to provide goods and/or services to the

 Debtor on Customary Trade Terms or such other terms as may be agreed upon between the Debtor

 and the claimant; provided, further, that if any party accepts payment hereunder and does not

 continue supplying goods and/or services to the Debtor in accordance with the Customary Trade

 Terms, (a) the Debtor and the agent under the Debtor’s debtor-in-possession facility may take any

 and all appropriate steps to recover from such party any payments made to it on account of its pre-

 petition claim to the extent that such payments exceed the post-petition amounts then owing to such

 party; (b) upon recovery by the Debtor, any prepetition claim of such party shall be reinstated as if

 the payment on account thereof had not been made; (c) if an outstanding post-petition balance is due

 from the Debtor to such party, (i) the Debtor may elect to re-characterize and apply any payment

 made pursuant to the relief requested by this Motion to such outstanding post-petition balance and

 (ii) such party will be required to repay to the Debtor such paid amounts that exceed the post-

 petition obligations then outstanding without the right of any setoffs, claims, provisions for payment

 of any claims, or otherwise; and (d) the Debtor and the agent under the Debtor’s debtor-in-

 possession facility reserve all rights to assert that such payments made were avoidable post-petition

 transfers under section 549 of the Bankruptcy Code and recoverable by the Debtor. In the event that

 the Debtor recovers any such funds pursuant to the foregoing, the applicable Obligation shall be

 reinstated as a pre-petition claim in the amount so recovered.



 04705723.6                                   19


Case 19-70152-JHH11         Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                 Desc Main
                                  Document    Page 19 of 21
          4.     Any party that accepts payment from the Debtor on account of a Critical Vendor

 Claim shall be deemed to have agreed to the terms and provisions of this Order.

          5.     Notwithstanding the relief granted in this Order and any actions taken pursuant to

 such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

 particular claim against the Debtor; (b) a waiver of the Debtor’s rights to dispute any particular

 claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication

 or admission that any particular claim is of a type specified or defined in this Order or the Motion;

 (e) a request or authorization to assume or reject any agreement, contract, or lease pursuant to

 section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtor’s rights under the

 Bankruptcy Code or any other applicable law; or (g) a concession by the Debtor that any liens

 (contractual, common law, statutory, or otherwise) satisfied pursuant to this Order or the Motion are

 valid, and the Debtor expressly reserves its rights to contest the extent, validity, or perfection or seek

 avoidance of all such liens.

          6.     The banks and financial institutions on which checks were drawn or electronic

 payment requests made in payment of the pre-petition obligations approved herein are authorized

 and directed to receive, process, honor, and pay all such checks and electronic payment requests

 when presented for payment, and all such banks and financial institutions are authorized to rely on

 the Debtor’s designation of any particular check or electronic payment request as approved by this

 Order.

          7.     The Debtor is authorized to issue post-petition checks, or to effect post-petition fund

 transfer requests, in replacement of any checks or fund transfer requests that are dishonored as a

 consequence of this chapter 11 case with respect to prepetition amounts owed in connection with

 any of the Critical Vendor Claims.



 04705723.6                                     20


Case 19-70152-JHH11          Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                    Desc Main
                                   Document    Page 20 of 21
          8.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

 are immediately effective and enforceable upon its entry.

          9.       The Debtor is authorized to take all actions necessary to effectuate the relief granted

 in this Order in accordance with the Motion.

          10.      Notwithstanding anything to the contrary in this Order, any payment made (or to

 be made) and any authorization contained in this Order shall be subject to the terms, conditions,

 limitations, and requirements of any interim order concerning post-petition secured financing and

 any subsequently issued final order concerning post-petition secured financing entered by the

 Court.

          11.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.

          Dated:


                                                           UNITED STATES BANKRUPTCY JUDGE




 04705723.6                                      21


Case 19-70152-JHH11           Doc 10 Filed 01/28/19 Entered 01/28/19 16:21:38                  Desc Main
                                    Document    Page 21 of 21
